
173 P.3d 1256 (2007)
216 Or. App. 447
In the Matter of C.S.K., Alleged to be a Mentally Ill Person.
STATE of Oregon, Respondent,
v.
C.S.K., Appellant.
061272579; A134474.
Court of Appeals of Oregon.
Submitted on Record and Briefs October 5, 2007.
Decided December 5, 2007.
Lance D. Perdue, Portland, filed the brief for appellant.
Hardy Myers, Attorney General, Mary H. Williams, Solicitor General, and Judy C. Lucas, Senior Assistant Attorney General, filed the brief for respondent.
Before EDMONDS, Presiding Judge, and WOLLHEIM and SERCOMBE, Judges.
PER CURIAM.
Appellant seeks reversal of a judgment committing her as a mentally ill person for a period not to exceed 180 days. ORS 426.130. Appellant argues that the record does not establish by clear and convincing evidence that, because of a mental disorder, she is unable to provide for her basic needs and is not receiving such care as is necessary for health or safety. See ORS 426.005(1)(d). The state concedes that the evidence is insufficient for involuntary commitment and that the judgment should be reversed. On de novo review of the record, we accept the state's concession and reverse.
Reversed.
